
Alur Medical Supply, Inc., as Assignee of Daniels, Donald, Respondent, 
againstGEICO Ins. Co., Appellant.




The Law Office of Printz &amp; Goldstein (Lawrence J. Chanice, Esq.), for appellant.
Law Offices of Emilia I. Rutigliano, P.C. (Emilia I. Rutigliano, Esq.), for respondent.

Appeal from a judgment of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered December 9, 2014. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $740.25.




ORDERED that the judgment is reversed, with $30 costs, and the matter is remitted to the Civil Court for a new trial. 
In this action by a provider to recover assigned first-party no-fault benefits for medical supplies it had provided to its assignor, defendant appeals from a judgment of the Civil Court which, after a nonjury trial, awarded plaintiff the principal sum of $740.25.
For the reasons stated in Staten Is. Advanced Surgical Supply, as Assignee of Gu Zhang v GEICO Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-1734 Q C], decided herewith), the judgment is reversed and the matter is remitted to the Civil Court for a new trial.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










